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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

                                                                           Chapter 11 (Subchapter V)
             In re:
                                                                           Case No. 20-13103 (BLS)
             BC HOSPITALITY GROUP INC., et al.,
                                                                           (Jointly Administered)
                                                    Debtors. 1


                                            SUBCHAPTER V STATUS REPORT

                                 Note: must be filed 14 days prior to initial status conference

         Date of order for relief:                                                          December 14, 2020

         Subchapter V Trustee:                                                              Jami B. Nimeroff, Esq.

         Have the Debtors attended an initial debtor interview?                                        Yes            No 

                      If no, please explain: _______________________________________

         Has the trustee concluded the 341 meeting?                                                    Yes            No 

                 If no, please explain: The Office of the United States Trustee for the District of Delaware
         (the “U.S. Trustee”) held an initial 341 meeting on January 8, 2021 and held a continued 341
         meeting on January 19, 2021. As a result of a few outstanding questions raised at the 341 meeting
         held on January 19, 2021, the U.S. Trustee has not officially concluded the 341 meeting. However,
         the Debtors are looking into those questions and expect the 341 meeting to be officially concluded
         in the near term.

         Have the Debtors filed all postpetition financial reports?                                    Yes            No 

                      If no, please explain: _______________________________________




         1
               The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
               number are: BC Hospitality Group Inc. (8766); BC Hospitality Group LLC (9360); BC International LLC (1356);
               BC Commissary NJ LLC (0230); E2 185 Bleecker LLC (6862); E2 60 West 22nd Street LLC (9567); E2 Lafayette
               LLC (7419); BC Williamsburg LLC (8277); BCRC LLC (7297); CW SSS LLC (9958); BC Union Square LLC
               (5172); BC 1385 Broadway LLC (2138); BC 630 Lexington LLC (3202); CCSW Fenway LLC (5517); E2 Seaport
               LLC (9720); BC Back Bay LLC (0550); BC Providence LLC (0737); BC Silver Lake LLC (2825); BC Century
               City LLC (0901); and BC West Hollywood LLC (3878). The Debtors’ mailing address is 205 Hudson Street,
               Suite 1001, New York, New York 10013.
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         Have the Debtors filed all monthly operating reports?                                      Yes 2           No 

                 If no, please explain: ______________________________________

         Is all relevant insurance in place and current?                                            Yes             No 

                 If no, please explain: _______________________________________

         Have the Debtors filed all applicable tax returns?                                         Yes             No 

                 If no, please explain: _______________________________________

         Have the Debtors paid all taxes entitled to administrative expense priority? Yes                         No 

         If no, please explain: _______________________________________

         Please detail the efforts the Debtors have undertaken and will undertake to attain a consensual plan
         of reorganization:

                  On January 21, 2021, the Debtors will file a proposed chapter 11 plan (the “Plan”)3 that
         includes a toggle feature, resulting in either: (a) an Asset Sale Restructuring, which allows the
         Debtors to enter into a sale transaction for the sale or disposition the Debtors’ assets; or (b) an
         Equitization Restructuring, which provides for the implementation of the terms of an acceptable
         plan sponsor investment in the form of an equity investment. The Plan toggle provides the Debtors
         with the latitude necessary to negotiate the precise terms of their ultimate emergence from chapter
         11 and, consequently, the terms of the Plan may be revised, as necessary. Contemporaneously
         with the Plan, the Debtors will submit a proposed form of order to the Bankruptcy Court
         (i) establishing procedures for the solicitation and tabulation of votes to accept or reject the Plan;
         (ii) approving the form of ballot and solicitation materials; (iii) establishing a voting record date;
         (iv) fixing the deadline for filing objections to confirmation of the Plan; and (v) granting related
         relief.

                On January 7, 2021, the Bankruptcy Court entered that certain Order (I) Approving the
         Bidding Procedures, (II) Scheduling the Bid Deadline and the Auction, (III) Approving the Form
         and Manner of Notice Thereof, and (IV) Granting Related Relief [Docket No. 102] (the “Bidding
         Procedures Order”). In accordance with the Bidding Procedures Order, the Debtors have
         continued their marketing process for plan sponsors or purchasers to facilitate the Debtors’
         emergence from these cases. As of the date hereof, the Debtors’ asset sale advisor, Ankura
         Consulting Group, LLC, has contacted 140 potential interested parties and executed non-disclosure
         agreements with 23 parties. The bid deadline in connection with the Debtors’ sale process is
         February 25, 2021, the Auction is scheduled for March 1, 2021, and the Confirmation Hearing is
         scheduled for March 4, 2021.

         2
             The Debtors’ first monthly operating report is due on January 29, 2021 and will be filed by the deadline.
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             Capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in the Plan.
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                  As discussed more fully in the Declaration of David Selinger in Support of Chapter 11
         Petitions and First Day Motions [Docket No. 3], the Debtors have been engaged in various
         litigation with their former co-owner, Ms. Chloe Coscarelli, and her company, Chef Chloe LLC
         (“Chef Chloe”), over the past few years. Since the Petition Date, the Debtors and their
         professionals have engaged in extensive negotiations with Chef Chloe and certain of their equity
         investors (such investors, the “Investor Group”) to resolve the issues raised in the litigation and to
         develop a path forward for these cases that maximizes value for all creditors. To that end, the
         Debtors have been facilitating discussions by and among Chef Chloe and the Investor Group with
         the goal of reaching a settlement which will serve as a platform for a consensual emergence from
         bankruptcy. To the extent a settlement is reached, the appropriate relief will be sought in the
         Bankruptcy Court.

         Other relevant information:
         ______________________________________________________________________________
         ______________________________________________________________________________

         Note: The Debtors must file a plan not later than 90 days after entry of order for relief, unless
         the Bankruptcy Court extends the deadline upon a finding that extension is “attributable to
         circumstances for which the debtor should not justly be held accountable.” See 11 U.S.C. § 1189
         (b).


         This status report must be served on the Subchapter V Trustee and all parties in interest.


         Date: January 20, 2021                                /s/ David Selinger
                                                               David Selinger
                                                               Secretary and Head of Real Estate and
                                                               Development of BC Hospitality Group Inc.




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